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                          UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                              FORT WORTH DIVISION


DAVID SAMBRANO, DAVID CASTILLO,
KIMBERLY HAMILTON, DEBRA
JENNEFER THAL JONAS, GENISE                           Civil Action No.: 4:21-01074-P
KINCANNON, JARRAD RAINS, ALYSE                        Jury Trial Demanded
MEDLIN, and CHARLES BURK, on their
own behalf and on behalf of all others
similarly situated,

                       Plaintiffs,

               v.

UNITED AIRLINES, INC.,

                       Defendant.


                    SECOND AMENDED CLASS ACTION COMPLAINT

       1.      Plaintiffs David Sambrano, David Castillo, Kimberly Hamilton, Debra Jennefer

Jonas, Genise Kincannon, Jarrad Rains, Alyse Medlin, and Charles Burk (collectively,

“Plaintiffs”), on behalf of themselves and all others similarly situated, complain as follows against

Defendant United Airlines, Inc. (“United”).

       2.      This is a class action brought to remedy United’s pattern of discrimination and

retaliation against those employees who requested religious accommodations, medical

accommodations, or both from United’s mandate that its employees receive the COVID-19

vaccine (the “Mandate”).

       3.      Rather than complying with its obligations under Title VII of the Civil Rights Act

of 1964 (“Title VII”) and the Americans with Disabilities Act (“ADA”), United responded

uniformly to all employees who requested an accommodation from the Mandate by informing the
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employees that they would be effectively terminated—placed on indefinite unpaid leave—unless

they violated their faith or risked their health by receiving the COVID-19 vaccine.

       4.      For those able to navigate United’s onerous and flawed online accommodation

request system (ironically named “Help Hub”), the reward was functional termination—indefinite

unpaid leave, unless one acquiesced to the Mandate.

       5.      For those who failed to run United’s procedural gauntlet—for any reason, including

system failures on United’s end—the penalty was actual termination, unless one acquiesced to the

Mandate.

       6.      There was no legitimate business justification for these actions. Contrary to

United’s pretextual goal of “safety,” the “real reason for the vaccine mandate and indefinite unpaid

leave policy [wa]s ‘virtue signaling’ and ‘currying political favor.’” Sambrano v. United Airlines,

45 F.4th 877, 879 (5th Cir. 2022) (Ho, J., concurring in denial of rehearing en banc). Indeed, it

subsequently became clear that United implemented the Mandate as part of a marketing campaign,

rather than in pursuit of safety. Of course, United’s other goal was to use the threat of termination

(functional or actual) to coerce and intimidate its employees to abandon their sincerely held

religious beliefs and health concerns by receiving the COVID-19 vaccine.

       7.      United’s actions left Plaintiffs, like many other United employees, with the same

crisis of conscience creating the impossible choice of either receiving the COVID-19 vaccine—at

the expense of their religious beliefs and health—or losing their livelihoods. In doing so, United

violated Title VII and the ADA by failing to engage in an individualized interactive process to

provide reasonable accommodations, and also by retaliating against employees who engaged in

protected activity.




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       8.      As a result of United’s actions, Plaintiffs were forced to seek relief from this Court

on September 21, 2021, when they filed their initial complaint, and on September 22, 2021, when

they requested a temporary restraining order and preliminary injunction blocking United’s

implementation of the Mandate on behalf of a putative class consisting of “all United employees

who have requested or will request accommodations from United’s [Mandate] and who have had

those accommodation requests either formally or effectively denied[.]” ECF No. 1 at ¶ 118.

       9.      Shortly after Plaintiffs initiated this action, United and Plaintiffs entered an

agreement whereby United agreed to delay implementation of the Mandate in order to allow the

Parties to participate in a preliminary-injunction hearing. In the interim, United determined that

certain employees would be allowed to work with mask-wearing and testing protocols, although

they were still subject to severe limitations on their work.

       10.     After that hearing, the Court denied Plaintiffs’ request for preliminary injunctive

relief, and the United employees who were granted an accommodation were effectively terminated

in November 2021 when United placed them on indefinite unpaid leave with no benefits or access

to retirement funds. Many of those employees remained on unpaid leave until March 28, 2022,

while some were permitted to return earlier subject to onerous and undue restrictions.

       11.     United’s uniform refusal to provide reasonable accommodations caused severe

harm. Hundreds of United employees were forced out of work without pay or health insurance for

months, beginning just prior to the Thanksgiving and Christmas holidays in 2021.              These

employees lost not only their income and access to health insurance, but they also lost training

cycles, currency, skills, seniority, vacation accrual, sick leave accrual, use of accrued travel

privileges, retirement contributions, as well as many other important career and professional




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benefits to include even their federal law enforcement credentials. And they endured the emotional

stress of not knowing if or when they would ever be permitted to return to work.

          12.   Further, hundreds of other United employees, after being threatened repeatedly

with indefinite unpaid leave, were forced to give up their positions and accept significantly less

lucrative or less senior positions, including positions with no union protections. Like their co-

workers who were placed on indefinite, unpaid leave, these employees lost income, schedules,

overtime opportunities, and benefits that they had accrued through countless years of working at

United.

          13.   Some employees facing indefinite unpaid leave took the drastic step of retiring

early to avoid being placed on indefinite unpaid leave or to preserve retirement benefits, while

others resigned and gave up years of seniority in order to start over at a different airline.

          14.   Others still were forced to violate their faith or risk their health by acquiescing to

the Mandate to provide for themselves and their families.

          15.   Through all of these actions, United discriminated and retaliated against those

employees whose faith or health precluded them from receiving a COVID-19 vaccine. And, in

doing so, United created a work environment where these employees have been subject to

continued harassment from colleagues and management because of their faith and health.

                                             PARTIES

          16.   Plaintiff David Sambrano is a Captain with United. Mr. Sambrano requested a

religious accommodation from United’s vaccine mandate, to which United responded by offering

only an indefinite period of unpaid leave as a “reasonable accommodation.” Mr. Sambrano also

attempted to request a medical accommodation, but United’s online accommodation request

system, which was the only formal mechanism United offered for employees to submit either a




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religious or medical accommodation request, prevented him from doing so. Mr. Sambrano is a

citizen and resident of Colleyville, Texas.

       17.     Plaintiff David Castillo is an Aircraft Technician with United at Dallas Fort Worth

International Airport (“DFW”).       Mr. Castillo requested both a religious and a medical

accommodation from United’s vaccine mandate on September 17, 2021.               Because United

arbitrarily stopped accepting accommodation requests through its online request system on August

31, 2021, Mr. Castillo requested these accommodations through his supervisor. Mr. Castillo’s

religious accommodation request was deemed untimely, and he was scheduled to be terminated on

September 27, 2021. A United Human Resources representative, however, subsequently informed

Mr. Castillo that United would accept his medical accommodation request. And, after Plaintiffs

filed this lawsuit, United made a special exception for Mr. Castillo that was not made for dozens

of other United employees who United accused of failing to submit their accommodation requests

“on time” through Help Hub. Because he was a named Plaintiff in this lawsuit, Mr. Castillo was

permitted to remain at work under newly developed accommodations that arose once the Parties

were in court. Mr. Castillo is a citizen and resident of Fort Worth, Texas.

       18.     Plaintiff Kimberly Hamilton is a Station Operations Representative with United.

Ms. Hamilton requested a religious accommodation from United’s vaccine mandate, to which

United responded by offering only an indefinite period of unpaid leave as a “reasonable

accommodation.” Ms. Hamilton is a citizen and resident of Colleyville, Texas.

       19.     Plaintiff Debra Jennefer Thal Jonas is a Customer Service Representative assigned

to the United Club at DFW. Ms. Jonas requested a medical accommodation from United’s vaccine

mandate, to which United responded by offering only an indefinite period of unpaid leave as a

“reasonable accommodation,” or she would need to exhaust all her sick leave. Ms. Jonas also




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sought to request a religious accommodation, but United’s online accommodation request system

prevented her from requesting a second form of accommodation because employees had no other

formal mechanism for submitting another accommodation request. Ms. Jonas is a citizen and

resident of Bedford, Texas.

         20.   Plaintiff Genise Kincannon is a Flight Attendant for United. Ms. Kincannon

requested a religious accommodation from United’s vaccine mandate, to which United responded

by offering only an indefinite period of unpaid leave as a “reasonable accommodation.” Ms.

Kincannon is a citizen and resident of Ft. Worth, Texas.

         21.   Plaintiff Jarrad Rains is a Flight Attendant for United. Mr. Rains requested a

medical accommodation from the Mandate, to which United responded by offering only an

indefinite period of unpaid leave as a “reasonable accommodation.” Mr. Rains also desired a

religious accommodation, and his supervisors advised him initially that he could apply for both.

He was ultimately prevented from submitting a religious request through Help Hub, however,

because he had the medical accommodation request in place. Mr. Rains is a citizen and resident

of Weatherford, Texas.

         22.   Plaintiff Alyse Medlin was a Flight Attendant for United. Ms. Medlin attempted to

request a religious accommodation from United’s vaccine mandate while on maternity leave, but

was denied and then terminated upon her return from leave for failing to comply with United’s

internal processes for obtaining an exemption. Ms. Medlin is a citizen and resident of Mansfield,

Texas.

         23.   Plaintiff Charles Burk is a First Officer with United. Mr. Burk requested a religious

accommodation from United’s vaccine mandate, to which United responded by offering only an

indefinite period of unpaid leave as a “reasonable accommodation.” Facing personal difficulties,




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Mr. Burk was coerced by United into receiving the vaccine against his sincerely held religious

beliefs—beliefs the company already recognized he held. Mr. Burk is a citizen and resident of

Fort Worth, Texas.

        24.     Defendant United is a Delaware corporation with its principal place of business in

Chicago, Illinois. United regularly operates flights through DFW and maintains a large workforce

at that airport. DFW is located within this judicial district; a substantial portion of which is located

in Tarrant County, Texas.

                                  JURISDICTION AND VENUE

        25.     This Court has jurisdiction over this case pursuant to 28 U.S.C. §§ 1331, 1343, and

42 U.S.C. § 2000e-5(f)(3).

        26.     Plaintiffs’ claims for declaratory and injunctive relief are authorized by 28 U.S.C.

§§ 2201 and 2202.

        27.     Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b) because a

substantial part of the events complained of herein occurred in this District and Division.

        28.     This case challenges United’s refusal to grant reasonable accommodations to its

Mandate as required under Title VII and the ADA. On information and belief, several activities

and occurrences related to the development of the Mandate and the determination for how to

respond to accommodation requests occurred in this District, and in Texas more broadly. Indeed,

United’s Chief Executive Officer (“CEO”), Scott Kirby, lives in Dallas, and has at office at DFW.

And given the significance of United’s vaccine policy, and Mr. Kirby’s personal involvement in

the development and communication of that policy, it is implausible that Mr. Kirby would not have

engaged in that decision making while at his residence in Dallas or elsewhere in Texas. Moreover,

one of United’s seven hubs is in Houston, Texas.




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       29.     Moreover, United’s actions are felt by Plaintiffs in this District, and this is where

the unlawful employment practices occurred. Each time Plaintiffs who reside in this District

accessed United’s electronic databases—including Help Hub—they were asked whether they want

to withdraw their request for a reasonable accommodation. Similarly, Plaintiffs received United’s

constant e-mail reminders about the vaccine mandate while located in this District.

       30.     Additionally, United maintains a large corporate footprint in Houston, Texas,

including payroll operations, training facilities, and a large maintenance facility.

                                  FACTUAL ALLEGATIONS

       A.      The COVID-19 Pandemic and Response

       31.     By Spring 2020, the novel coronavirus SARS-CoV-2, which can cause the disease

COVID-19, spread rapidly around the world.

       32.     Around this same time, United began implementing certain mitigation procedures

for its workforce, including several of the following requirements for its employees: wear United-

issued masks, gloves, and, for some, eye protection; maintain distance from others; and participate

in temperature checks prior to starting any shift or work assignment. United also began increasing

the cleaning regimens of its aircraft—spraying cabins with an anti-viral spray between flights—

and it upgraded its aircraft HEPA filters to prevent the spread of COVID-19.

       33.     Since then, at least four separate COVID-19 vaccines have been developed and

authorized or licensed for use in the United States. The Food and Drug Administration (“FDA”)

issued an Emergency Use Authorization (“EUA”) for the Pfizer-BioNTech vaccine on December

1, 2020. One week later, the FDA issued a second EUA for the Moderna COVID-19 vaccine. The

FDA also issued an EUA for the Johnson & Johnson COVID-19 vaccine on February 27, 2021.

And, more recently, the FDA issued an EUA for the Novavax COVID-19 vaccine on July 13,




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2022. The Pfizer-BioNTech vaccine received FDA approval for use in a slightly altered form on

August 23, 2021, and is said to be produced as Comirnaty—a form legally distinct from the EUA

version. The Moderna vaccine, Spikevax, has also since received FDA approval.

         34.      Subsequent to the development of the vaccines, the Delta and Omicron variants of

COVID-19 spread around the world. Considering those variants, the accompanying increases in

transmissibility of the virus, and the significant waning of the vaccines’ efficacy, the FDA began

recommending booster shots in addition to the initial vaccine regimens proposed.

         35.      The CDC also subsequently recognized that a prior COVID-19 infection provides

protection superior to a vaccine alone. Tomás M. León et al., Morbidity & Mortality Wkly. Rep.,

COVID-19 Cases and Hospitalizations by COVID-19 Vaccination Status and Previous COVID-

19 Diagnosis—California and New York, May–November 2021, CDC (Jan. 28, 2022)

(“CDC Report”), https://www.cdc.gov/mmwr/volumes/71/wr/mm7104e1.htm?s_cid=mm7104e1

_w (noting that “[b]y early October [of 2021], persons who survived a previous infection had lower

case rates than persons who were vaccinated alone”).

         36.      Not only has the CDC confirmed this, but additional studies have shown that the

effectiveness of the COVID-19 vaccines wane significantly over time. See Sarah A. Buchan et al.,

Estimated Effectiveness of COVID-19 Vaccines Against Omicron or Delta Symptomatic Infection

and      Severe     Outcomes      tbl.      2,    JAMA     Netw.   Open    (Sept.    22,   2022),

https://jamanetwork.com/journals/jamanetworkopen/fullarticle/2796615 (Table 2); Christian

Holm Hansen et al., Vaccine effectiveness against SARS-CoV-2 infection with the Omicron or

Delta variants following a two-dose or booster BNT162b2 or mRNA-1273 vaccination series: A

Danish         cohort     study     tbl.,        medRxiv    [preprint]    (Dec.     23,    2021),

https://www.medrxiv.org/content/10.1101/2021.12.20.21267966v3.




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        37.    According to the CDC, to be “Up to Date” or current with COVID-19 vaccinations,

an individual must have received “the most recent booster dose recommended for you by CDC.”

CDC, Stay Up to Date with Vaccines: When Are You Up to Date?                   (Jan. 25, 2023),

https://www.cdc.gov/coronavirus/2019-ncov/vaccines/stay-up-to-date.html. For adults, this is a

two-shot regimen of the Pfizer, Moderna, or Novavax vaccine or a one-shot dosage of the Johnson

& Johnson vaccine, followed by a booster after the primary series of either the Pfizer or Moderna

vaccine. Previously, CDC recommended adults over 50 years old receive a second booster at least

4 months after the first booster. Id.

        B.     United’s Vaccine Mandate

        38.    On August 6, 2021, United’s CEO Scott Kirby announced that all employees would

be required to receive a COVID-19 vaccine within five weeks of the FDA’s granting full approval

of a vaccine, or five weeks after September 20, 2021, whichever came first.

        39.    As noted, the FDA approved Pfizer’s COVID-19 Comirnaty vaccine on August 23,

2021.

        40.    Accordingly, United employees were told they must receive at least the first dose

of a COVID-19 vaccine by September 27, 2021.

        41.    Employees were required to upload a copy of their proof of vaccination to a United

database called Flying Together by September 27, 2021. See Thomas Pallini, United is the first

US airline to require all employees be vaccinated against COVID-19, Bus. Insider (Aug. 6, 2021),

https://www.businessinsider.com/united-requiring-us-employees-get-covid-19-vaccine-2021-8.

        42.    Employees who did not upload a copy of their vaccination record showing a

COVID-19 vaccination or who were not granted an “accommodation” by United were terminated.




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       43.     United’s Mandate was absolute and uniform—there was no alternative for periodic

testing, mask wearing, or social distancing, even for employees who already had COVID-19 and

still enjoyed immunity from the disease, despite EEOC guidance suggesting then and now that

these alternatives are appropriate accommodations. See What You Should Know About COVID-

19 and the ADA, the Rehabilitation Act, and Other EEO Laws: Vaccinations-Overview, ADA, Title

VII, and GINA, EEOC (July 12, 2022), https://www.eeoc.gov/what-you-should-know-about-

covid-19-and-ada-rehabilitation-act-and-other-eeo-laws#K. Rather, every United employee was

forced to choose vaccination or termination. Or, as discussed below, employees who were

“accommodated” for religious or medical reasons could choose what they believed would be

several years of unpaid leave without benefits: effectively, termination. 1

       44.     United’s policy contrasted with the Federal Government’s announcement that the

Department of Labor was developing a rule to require certain large employers to mandate

vaccination or periodic testing for its employees in compliance with the EEOC’s

recommendations. United did not offer the option of periodic testing, either in general or for

employees who received an accommodation.

       45.     The policy from United also differed substantially from the European Union’s

digital COVID-19 certificate, which considered the following as equivalent: (1) a COVID-19

vaccine; (2) a negative COVID-19 test; or (3) a previous recovery from COVID-19. See EU

Digital COVID Certificate, European Comm’n, https://commission.europa.eu/strategy-and-




1
 As it turned out, the unpaid leave lasted approximately four months—ending shortly after the
Fifth Circuit’s determination that United had irreparably harmed its employees in this case.
Sambrano v. United Airlines, Inc., 2022 WL 486610, at *6 (5th Cir. Feb. 17, 2022), reh’g denied,
45 F.4th 877 (2022).


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policy/coronavirus-response/safe-covid-19-vaccines-europeans/eu-digital-covid-certificate_en

(last visited Feb. 9, 2023).

         46.    Through this policy, United ignored the CDC’s recognition that naturally occurring

immunity from COVID-19 was at least as strong as vaccine-induced immunity. See CDC Report

supra.

         47.    When United announced its Mandate, it stated that employees could request

accommodations for either religious or health reasons. See Daniella Genovese, United Airlines

vaccine mandate driven by delta variant, hospitalization data, CEO Scott Kirby says, FoxBusiness

(Aug. 10, 2021), https://www.foxbusiness.com/lifestyle/united-ceo-scott-kirby-pushed-vaccine-

mandate-driven-by-hospitalization-data. That was in line with Equal Employment Opportunity

Commission (“EEOC”) guidance on private employers issuing such mandates. See What You

Should Know About COVID-19 and the ADA, the Rehabilitation Act, and Other EEO Laws §§ K.1

& K.2., EEOC (May 28, 2021), https://www.eeoc.gov/wysk/what-you-should-know-about-covid-

19-and-ada-rehabilitation-act-and-other-eeo-laws.

         48.    Under United’s mandate, employees were required to receive either the Pfizer,

Moderna, or Johnson & Johnson vaccine. As United did not update its Mandate to also require

booster shots, many United employees had not received a COVID-19 vaccine in a year or longer

while unvaccinated employees were put out of work. Those employees are thus not considered in

full compliance with CDC standards. Yet, United still requires initial COVID-19 vaccines for all

employees and new hires.

         C.     United’s Campaign to Pressure Employees

         49.    In the days leading up to United’s August 31, 2021 deadline for submitting

accommodation requests, United’s CEO Mr. Kirby threatened employees “to be very careful




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about” requesting such accommodations. He stated that there would be very “few people that get

through the medical and religious exemption process”—describing such employees derisively as

“all [of a] sudden decid[ing] ‘I’m really religious.’” Sambrano, 2022 WL 486610, at *9. Mr.

Kirby warned those employees to be very careful because they were “putting [their] job[s] on the

line” if they requested such accommodations. See id.

       50.     In addition to Mr. Kirby’s threats, United placed substantial and unconscionable

pressure on its employees. For instance, as just one example, in early-September 2021, United

mailed postcards to all employees who had not yet provided proof of vaccination.

       51.     Those postcards stated that the employee had not uploaded proof of vaccination

and repeated in bold text: “Unvaccinated employees without a reasonable accommodation will be

separated from United.” As these postcards were not sent in an envelope, United effectively

broadcast its employees’ medical information to all who saw the postcards, allowing a wide range

of individuals outside United to also exert pressure on the employee.

       52.     According to United, the Mandate was aimed at increased safety. See Leslie

Josephs, United will require its U.S. employees to be vaccinated, a first for country’s major

airlines, CNBC (Aug. 6, 2021), https://www.cnbc.com/2021/08/06/united-airlines-vaccine-

mandate-employees.html. Yet United did not require any passenger flying on its planes, or

interacting with its staff, to be vaccinated. See David Koenig, United Airlines will require US

employees to be vaccinated, AP News (Aug. 6, 2021), https://apnews.com/article/united-airlines-

vaccine-mandate-employees-frontier-e8eef8e8f11d4924b81768484e5401a1. Nor did it require its

employees from other countries to receive the COVID-19 vaccine, even though those employees

work alongside United crews from the United States. Id.




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       53.     The Mandate also did not apply to regional airline partners that fly United

customers on shorter routes that feed United’s mainlines. Employees from these partners work

alongside United employees in the terminals and on the ramp, share employee cafeterias, and their

pilots and flight attendants deadhead on United mainline flights. Likewise, United pilots and flight

attendants are often scheduled to deadhead on these regional aircraft. See Josephs, supra ¶ 52.

       54.     And the Mandate did not apply to pilots or flight attendants from other airlines

allowed to ride in the “jumpseats” of United aircraft. In the case of pilots, the jumpseat is located

in the cockpit somewhat between the United flight officers’ seats in extreme proximity to both

United pilots. See Jumpseat Committee Update, United Master Exec. Council (Sept. 16, 2021),

https://contentsharing.net/actions/email_mobile_web_version.cfm?recipient_id=2940366754&m

essage_id=20802705&user_id=ALPA&jobid=53070823. In the case of flight attendants, their

jumpseats are generally in the cabin with passengers, and next to seats for the flight attendants who

are working the flight. Further, United concurrently relaxed its requirement for flight attendants

to wear gloves and eye protection that was introduced early in the COVID-19 pandemic, and

United discontinued the “deep” cleaning disinfectant spraying inside the aircraft after each flight,

as was the policy at the outset of the pandemic.

       55.     Despite United’s suggestion that vaccination was necessary to keep its workforce

safe, United was simultaneously telling consumers that the inside of a United airplane was one of

the safest places to be during the pandemic—not because of vaccines, but because of cabin airflow

and pressurization.

       56.     United’s actions thus confirm that the Mandate is not aimed at safety, but rather at

pressuring employees like Plaintiffs to forsake their religious beliefs and health by receiving the

COVID-19 vaccine to support a marketing campaign.




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       D.      Federal Law Prohibits Religious and Disability Discrimination and
               Retaliation

       57.     Title VII prohibits United from discriminating against employees based on their

religion. This “include[s] all aspects of religious observance and practice, as well as belief, unless

an employer demonstrates that he is unable to reasonably accommodate an employee’s . . .

religious observance or practice without undue hardship on the conduct of the employer’s

business.” 42 U.S.C. § 2000e(j).

       58.     In other words, “[a]n employer has the statutory obligation to make reasonable

accommodations for the religious observances of its employees, but is not required to incur undue

hardship.” Weber v. Roadway Express, Inc., 199 F.3d 270, 273 (5th Cir. 2000).

       59.     Title VII also prohibits United from retaliating against an employee for engaging

in protected activity. See Davis v. Dallas Area Rapid Transit, 383 F.3d 309, 319 (5th Cir. 2004).

       60.     Similarly, under the ADA, United may not “discriminate against a qualified

individual on the basis of disability.” Caldwell v. KHOU-TV, 850 F.3d 237, 241 (5th Cir. 2017).

       61.     Such discrimination includes “fail[ing] to make ‘reasonable accommodations to the

known physical or mental limitations of an otherwise qualified individual with a disability . . .

unless . . . the accommodation would impose an undue hardship.’” Feist v. Louisiana, 730 F.3d

450, 452 (5th Cir. 2013).

       62.     Additionally, the ADA makes it unlawful to retaliate against an employee for

seeking an accommodation. See 42 U.S.C. § 12203(a).

       E.      United’s Accommodation Request System

       63.     As part of its so-called Reasonable Accommodation Process (“RAP”), United

created an online system through its “Help Hub” to allow employees to request accommodations

from the Mandate based on religious beliefs or medical reasons.



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       64.     However, United did not allow employees to submit requests based on both

religious and medical reasons.

       65.     United required all employees to submit requests for accommodation by August

31, 2021.

       66.     After that date, employees were not permitted to submit accommodation requests

to United through Help Hub. In fact, religious requests received after August 31, 2021, were

automatically denied as untimely.      However, United subsequently granted certain medical

accommodation requests that were submitted after the company’s arbitrary deadline.

       67.     In other words, any employee with a religious basis for not receiving the vaccine

after August 31, 2021, or who was unable to complete the process by August 31, 2021, was left

without a mechanism to request an accommodation from United. Such employees were forced

either to receive the vaccine or be terminated.

       F.      United’s Responses to Accommodation Requests

       68.     Once employees were able to submit RAP requests, United continued its campaign

to dissuade employees from completing the RAP process. This pressure came from co-workers,

managers, and company leadership.

       69.     For instance, once an employee submitted a RAP request, United subjected the

employee to probing questions about the legitimacy of either the religious belief or medical

condition requiring an accommodation.

       70.     This included questions aimed at harassing and manipulating employees requesting

religious accommodations, including: “Are you aware if any vaccines or medications you have

previously received were created, researched, tested or otherwise involved the use of stem cells,”

and if so, “please explain why receiving such vaccines or medications were not a violation of your




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sincerely held belief.” Also, United asked: “What about your religious belief prevents you from

getting the COVID vaccines, but not taking other types of medicine;” “Have you received

vaccinations in the past;” and “Do you currently take or have you taken medications of any kind

(over the counter or prescription)?”

       71.       Similarly, for employees requesting medical accommodations, United subjected

them to repeated and invasive requests for medical records and supporting statements from medical

providers.

       72.       In a further effort to dissuade employees from requesting accommodations, United

also asked individuals (on a short 3-day timeline, often over holidays or weekends, or while

employees were out of the country without Internet access) for pastoral or third-party letters

attesting to the employees’ religious beliefs. The requirement for a pastoral letter as substantiation

for an employee’s sincerely held religious beliefs was implemented by United early in the review

process. This was later replaced by the requirement for a letter to be provided by a third party who

could attest to an employee’s sincerely held religious beliefs. However, United failed to announce

this revised attestation policy widely, and many employees were dissuaded from submitting

religious accommodation requests out of a fear that they would not be able to obtain a formal letter

from a pastor.

       73.       As noted, when United requested additional information, it often did so with

unreasonable timeframes. United’s online portal, Help Hub, oftentimes did not alert employees

when additional information was requested.            In fact, employees stopped receiving email

notifications when updates were available, causing some employees to miss United’s artificially

imposed deadlines for providing additional requested information. Moreover, many United

employees are not required to check their United email while they are not working. Further, many




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United employees fly international routes where they lack reliable internet access during the trip.

These factors limited the ability of many United employees to respond to United’s questions on

United’s accelerated and arbitrary timeline.

       74.     Once any questions were answered and any requested documents were submitted,

United failed to engage further with the employee. The company did not ask for or suggest that

there would be any possible accommodation to the Mandate issued on August 6, 2021. Some

United employees assumed that United’s silence meant that their requests were denied and, due to

fear of lost income, they felt compelled to betray their faith and/or health by receiving the

COVID-19 vaccine.

       75.     On September 9, 2021, United began “granting” requests for accommodation,

announcing that for any accommodation request it granted, the employee would be placed on

indefinite unpaid leave starting October 2, 2021, with no company-paid benefits, no access to their

retirement accounts, and no planned return date. See Ailsa Chang et al., United Airlines CEO On

the Decision To Put Unvaccinated Employees On Leave In October, NPR (Sept. 10, 2021),

https://www.npr.org/2021/09/10/1036039856/united-airlines-ceo-on-the-decision-to-put-

unvaccinated-employees-on-leave-in-oc. This announcement caused many United employees to

rescind their accommodation requests out of a fear of lost income and health insurance.

       76.     Other requests for accommodation were denied as being either untimely under

United’s self-imposed August 31, 2021 submission deadline or due to other arbitrary reasons, such

as an employee’s failure to respond within 3 or 5 days to requests for substantiation of religious

beliefs or additional medical documentation.

       77.     For customer-facing employees (including pilots, flight attendants, and some

customer service representatives), United stated that the period of unpaid leave would last “until




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the risk of COVID is low enough that [United] deem[s] it safe” or until the pandemic

“meaningfully” subsides.

       78.     For non-customer-facing employees (including aircraft technicians, ramp

personnel, employees who performed their jobs from home, and other service representatives), the

period of unpaid leave was set to last “for some period of time while [United] work[s] out all the

details [and] the logistics” of mitigation measures, which United stated may or may not include

testing requirements and requiring unvaccinated employees to wear vaccine identification badges.

See Chang et al., supra ¶ 75.

       79.     In announcing these rules, United ignored the interactive process. United did not

explain why one group of employees may be able to come back to work with mitigation measures

in place, while another group would not be able to do so. For example, United did not explain

why employees in non-customer-facing positions are at less risk of infection despite still

interacting with other employees.       The same is true for other types of customer service

representatives who could have worked remotely or behind plexiglass shields in an airport.

       80.     United likewise did not explain why pilots and flight attendants could not be

accommodated even though they fly in an environment that United’s CEO Mr. Kirby boasted to a

congressional committee “is the safest place that you can be indoors,” including places like an

intensive care unit or operating room. S. Comm. on Com., Sci., & Transp., Airline Oversight Hr’g,

C-SPAN, at 56:24 (Dec. 15, 2021) (“Oversight Hr’g”), https://www.c-span.org/video/?516667-

1/airline-oversight-hearing. Further, Mr. Kirby explained that, because of the airflow within

planes, sitting next to a passenger in a United plane is equivalent to sitting 15 feet from the person

in a typical building. Id. at 56:42. United itself boasted of the advanced air filtration system in its




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planes that make it “virtually impossible for one person to transmit COVID to another” on a United

flight. ROA.3646–47.

       81.     As United explained in its marketing materials, it partnered with the Cleveland

Clinic to study the safety of its aircraft during the COVID-19 pandemic. ROA.3791–92, 3802,

3809, 4290. And United points its customers to the results of that study, as well as a Department

of Defense study, “showing that aircraft cabins are among the safest of public indoor

environments.” ROA.3807. In fact, United tells its customers that, “even when the plane is full,

on average only 0.003% of infected air particles could enter the breathing zone of seated, masked

passengers[.]” Id.

       82.     United also did not explain why its distinctions did not include any consideration

for employees who have previously recovered from COVID-19 and therefore possess antibodies

that may provide them with protection against future COVID-19 infection at rates similar to (or

greater than) vaccination. United further failed to explain why it would allow pilots from other

airlines to ride in the cockpit with United flight officers even though those other pilots would not

be required to have a COVID-19 vaccination. Nor did United explain why its non-U.S. employees

were not required to be vaccinated, even though crew members from outside the U.S. often work

together on flights with U.S. crew members. The same is true for the regional aircrews that fly

shorter routes for United. What United did do was rely on arbitrary line-drawing rather than

engaging in the interactive process with each employee who requested an accommodation.

       83.     Instead, United promised unpaid leave to any “accommodated” employee with no

end date in sight. Further intending to coerce employees to abandon their faith and risk their health




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by receiving the COVID-19 vaccine, United stated that the period of unpaid leave could last up to

72 months (i.e., up to 6 years). 2

        84.     United informed “accommodated” employees that, while on unpaid leave, some

may lose company seniority and accrued travel benefits, they may not use accrued sick leave or

vacation time, they do not accrue any sick leave or vacation time, and they must pay their own

medical insurance premiums—both the employee’s share and United’s usual share. Subsequently,

those receiving a medical accommodation were allowed to use their own earned sick time pay to

offset the loss of income from working their job.

        85.     Any employee whose accommodation request was denied and who did not take the

vaccine was terminated. This included those prevented from having their request approved

because of United’s faulty process, even though the company was on notice of the employee’s

need for an accommodation.

        G.      Plaintiffs’ Accommodation Requests

        David Sambrano

        86.     Plaintiff David Sambrano is a Captain with United, where he has worked in varying

capacities for approximately 32 years.

        87.     As a Captain, he is responsible for piloting and commanding aircraft. Additionally,

at the time he submitted his accommodation request, Captain Sambrano had been in training to be



2
  After the initial filing of this lawsuit, during an agreed-upon stay of injunctive relief taking place
prior to a scheduled preliminary injunction hearing, United determined that the non-customer
facing employees could be returned to work under a rigid masking and testing protocol, while the
customer-facing service representatives were given some opportunities for work, but their normal
schedules and ability to work overtime were severely altered. Moreover, many of these customer-
facing service representatives were removed from union jobs, and union protections, and placed
into new roles where they worked alone in small offices. Yet, they were still subject to the rigid
masking and testing protocols. The lack of union representation in these new roles created a
significant fear of retaliation.


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a Line Check Airman, which is an instructor and evaluator of pilots, and a Federal Flight Deck

Officer authorized to carry a service weapon to defend United’s cockpits during domestic flights.

       88.     On August 26, 2021, Captain Sambrano submitted a request for a religious

accommodation through United’s online accommodation request portal, Help Hub.

       89.     In his accommodation request, Captain Sambrano explained his belief that the

COVID-19 vaccines were developed using aborted fetal tissue and that it is sinful to use anything

derived from abortion. He also explained that he believed receiving the vaccine runs contrary to

the Bible’s teachings about his body being a temple of the Holy Spirit. As an adult, Captain

Sambrano regularly elects not to receive vaccines due to his religious beliefs.

       90.     Captain Sambrano also attempted to request a medical accommodation because he

previously contracted and recovered from COVID-19 and thus likely possesses antibodies against

COVID-19. In light of the likelihood that he possesses antibodies, Captain Sambrano was

concerned about the risk posed by receiving a vaccine which itself aims to create antibodies.

       91.     Captain Sambrano was unable to submit a request for a medical accommodation

because United’s Help Hub system would only permit him to request one type of accommodation.

       92.     Despite his understanding that accommodation requests would be granted, Captain

Sambrano did not receive any contact from United to discuss his request or possible

accommodations. Rather, Captain Sambrano received only a series of hostile questions from

United questioning his religious beliefs.

       93.     On September 9, 2021, United informed Captain Sambrano that his religious

accommodation request was “granted,” but that he would be “accommodated” by being placed on

indefinite unpaid leave.




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       94.     Being placed on unpaid leave impacted Captain Sambrano in both tangible and

intangible ways. He was forced out of work over the Thanksgiving and Christmas holidays. He

also lost out on pay, vacation accrual, sick leave, pilot currency, and accrued travel privileges.

Moreover, since United categorized pilots like Captain Sambrano as active pilots, despite being

forced onto indefinite unpaid leave, United prevented Captain Sambrano from having access to his

retirement account.

       95.     Captain Sambrano was also a volunteer Federal Flight Deck officer when he

submitted his accommodation request. This was a prestigious position, which required Captain

Sambrano to maintain his pilot currency and employment, as well as his firearm proficiency.

When Captain Sambrano was removed from his active pilot status, he was forced to surrender his

badge and firearm. When he was eventually able to return to work, Captain Sambrano was

required to complete a requalification event at his own expense.

       96.     At this same time, United purported to inform “accommodated” pilots that they

could apply for non-flying positions. Many pilots attempted to do so, only to receive immediate

denials of such applications.

       97.     Captain Sambrano was subsequently contacted by United while on unpaid leave

about a special accommodation offer that was not made available to others in the class—likely due

solely to Captain Sambrano’s role as a named Plaintiff in this action. He was not, however,

qualified for the position—according to United’s standards—and could not engage in that

opportunity because of other personal circumstances at the time.

       98.     Captain Sambrano eventually returned to work on March 28, 2022. Even then,

however, United continued to punish Captain Sambrano for his faith, arbitrarily restricting the

locations to which he was permitted to fly due to his lack of a COVID-19 vaccine. This continued




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the financial and professional harm United was causing Captain Sambrano. And it left Captain

Sambrano, and others like him, easily identifiable to his co-workers, and subject to continued

discrimination and harassment.

       99.     Indeed, Captain Sambrano—like other flight crew—is prohibited from flying many

routes that he previously flew and that are open to unvaccinated individuals. Under threat of

discipline, United’s restricted-city list forces employees like Captain Sambrano to bid for

schedules and routes they would not normally fly given their seniority.

       100.    While United suggests that it is simply following vaccine restrictions imposed by

other countries, the vast majority of those countries imposed no such limitations on unvaccinated

aircrew or passengers. Rather, Plaintiffs can travel to nearly every city on United’s restricted-city

list today as tourists on United planes and non-revenue pass riders. And that is precisely why

unvaccinated pilots, flight attendants, and mechanics on official business for other airlines fly to

those same cities every day.

       101.    In what appears to be further retaliation against employees like Captain Sambrano,

United’s restricted-city list prevents him from flying to many of the most lucrative routes that

would otherwise be available to him, including Tokyo. Through its arbitrary restrictions, United

continues to discriminate against those with sincerely held religious beliefs and medical reasons

that prevent them from receiving the COVID-19 vaccine.

       102.    In addition, United continues to threaten such pilots with discipline should they,

through no fault of their own, be awarded a restricted city during their monthly bid preferencing.

       103.    Additionally, due to United’s actions, Captain Sambrano chose to bid for flights on

a different aircraft (the B777, rather than the B787) to have greater seniority, considering the many

ways that United was restricting his flights. This further cost Captain Sambrano income.




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       104.    Further, upon his return, Captain Sambrano suffered additional financial losses

when United arbitrarily prevented him from picking up overtime trips for routes included on

United’s restricted-city list, which are compensated as a substantially higher rate.

       105.    Captain Sambrano submitted a claim of discrimination to the Equal Employment

Opportunity Commission (“EEOC”), and he received a right to sue letter on September 30, 2022.

       David Castillo

       106.    Plaintiff David Castillo is an Aircraft Technician with United. He has worked for

United for 23 years.

       107.    In that position, Mr. Castillo is responsible for performing maintenance duties on

United airplanes.

       108.    After United implemented the Mandate, Mr. Castillo learned more about the

process for applying for an accommodation. As a Buddhist, Mr. Castillo had sincerely held

religious beliefs that prevented him from taking the vaccine. He did not, however, have a clergy

person in Fort Worth who would have been able to complete the religious attestation form that

United initially stated that it would require.

       109.    Because he would be unable to provide United with the documentation the

company said would be needed to avoid termination, Mr. Castillo determined that he would lose

his job over the Mandate. Later, however, he learned that United had changed its attestation

requirement to a third-party letter rather than a clergy letter. By that point, however, Mr. Castillo

had missed United’s self-imposed deadline of August 31, 2021, and thus Help Hub would no

longer accept his application for an accommodation.




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           110.   A few weeks later—after learning that accommodation requests can be made to the

company in any way reasonably calculated to provide the employer with notice—Mr. Castillo

submitted a request for a religious and medical accommodation through an email to his supervisor.

           111.   In his accommodation request, Mr. Castillo explained his understanding that the

COVID-19 vaccines were developed using aborted fetal tissue and that it is sinful to use anything

derived from abortion. As an adult, Mr. Castillo does not receive vaccines due to his religious

beliefs.

           112.   Mr. Castillo also requested a medical accommodation because he previously

contracted and recovered from COVID-19 and thus likely possesses antibodies against COVID-19.

In light of the likelihood that he possesses antibodies, Mr. Castillo is concerned about the risk

posed by receiving a vaccine which itself aims to create antibodies.

           113.   The day after he submitted his accommodation email request, a representative from

United’s Human Resources (“HR”) department contacted Mr. Castillo’s supervisor, informing him

that the religious accommodation request was untimely and would therefore be ignored. At the

same time, HR instructed the supervisor to inform Mr. Castillo that he would be able to submit a

request for a medical accommodation through United’s online Help Hub system.

           114.   Mr. Castillo was scheduled to be terminated on September 27, 2021. In the

meantime, however, he became a named Plaintiff in this lawsuit. Apparently unwilling to

terminate someone who would soon be in Court, United provided Mr. Castillo with a special

accommodation that was not made available to others who had missed United’s arbitrary deadlines

for submitting their exemption paperwork.

           115.   Then, like the other non-customer facing employees United determined it could

accommodate once litigation had been filed, Mr. Castillo was allowed to return to work at the




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beginning of October 2021 with the requirements that he wear an N-95 respirator at all times while

at work, eat his meals alone and outdoors, and provide regular COVID-19 test results, even on

days he was not scheduled to work.

       116.    Despite the requirement that Mr. Castillo wear an N-95 respirator at all times,

United failed to provide Mr. Castillo the required training and oxygenation breaks.

       117.    In doing so, United put Mr. Castillo and his co-workers at significant safety risk.

Requiring Mr. Castillo to wear an N-95 respirator at all times—even while working outdoors—

limited his ability to communicate with colleagues during important maintenance activities.

       118.    Since that time, and because of the ways United has singled him out, Mr. Castillo

has experienced tremendous discrimination from his co-workers. The problem was created when

United continually told its employees not only that they should take the vaccine but also pushed

the false narrative that unvaccinated employees like Mr. Castillo were dangerous. In truth, given

his prior COVID infection and his twice-weekly testing, Mr. Castillo was safer than his co-

workers.   United’s efforts were successful, though, in creating an environment where Mr.

Castillo’s co-workers were emboldened to ostracize and persecute him.

       119.    While he previously planned to work for United until retirement, the discrimination

he has faced at work is causing him to reconsider that decision as co-workers now disrespect him

continually and refer to him derogatorily because his religious beliefs prevent him from receiving

the COVID-19 vaccine.

       120.    Mr. Castillo submitted a claim of discrimination to the EEOC, and he received a

right to sue letter on September 30, 2022.




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          Kimberly Hamilton

          121.   Plaintiff Kimberly Hamilton is a Station Operations Representative with United.

She has worked for United for 19 years.

          122.   In that role, Ms. Hamilton works in an office setting, handling gate planning and

coordinating fueling, mechanics, cleaners, caterers, and other staff matters.

          123.   On August 26, 2021, Ms. Hamilton submitted a religious accommodation request

through United’s online accommodation request portal, Help Hub.

          124.   Ms. Hamilton explained that, as a devout Catholic, she cannot abide by any product

that relies on fetal stem cell lines, including vaccines derived from using aborted fetal tissue. Ms.

Hamilton also explained that she believes receiving the vaccine is contrary to the Bible’s teaching

and the Catechism of the Catholic Church that her body is a temple of the Holy Spirit. Following

the Catechism, Ms. Hamilton concluded that she must follow her conscience, whereby she

concluded that she could not receive the vaccine. Indeed, as the Catechism explains, it is “[d]eep

within [a man’s] conscience” where “he is alone with God whose voice echoes in his depths.”

Catechism of the Catholic Church, No. 1776 (2d ed. 2019). And it is one’s conscience, the

Catechism explains, that “enjoins [a man] … to avoid evil.” Id., No. 1777.

          125.   On September 5, 2021, United responded by requiring Ms. Hamilton to produce a

letter from a third-party supporting her religious views. Ms. Hamilton’s husband provided this

letter.

          126.   Ms. Hamilton did not receive any other contact from United to discuss the request

or possible accommodations.

          127.   On September 9, 2021, United informed Ms. Hamilton that her religious

accommodation request was “APPROVED,” but that she would be “accommodated” by being




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placed on indefinite unpaid leave without her regular benefits. This imposed a particularly

significant harm on Ms. Hamilton, as her husband had been recently diagnosed with cancer.

United’s actions would cause loss of access to health insurance, which caused Ms. Hamilton’s

husband to choose the fastest available treatment, but not necessarily the treatment that they

thought might be best. The impact of that decision is yet to be determined, and it continues to be

a significant source of stress for Ms. Hamilton.

       128.    After this lawsuit was filed, Ms. Hamilton was provided an accommodation to

remain at work, provided that she wear an N-95 respirator at all times, despite United’s failure to

provide Ms. Hamilton the requisite training and oxygenation breaks necessary for such a respirator.

       129.    Because of the ways that United singled her out, Ms. Hamilton faced tremendous

ostracization from her co-workers and supervisors. Indeed, United’s continued messaging to its

employees that becoming vaccinated is the only way to show that you truly care about your co-

workers emboldened other United employees to harass Ms. Hamilton.

       130.    This messaging has continued, as United recently advertised on December 15,

2022, through its “Flying Together” website that: “As the end-of-year holidays approach and large

gatherings become ever more frequent, there’s no better time than now to educated yourself on

life-saving flu and COVID-19 vaccines. Tune in on Dec. 15 for a vaccine webinar.”

       131.    Because of United’s actions, other employees repeatedly harassed Ms. Hamilton,

doing things such as spraying Lysol into her area making it hard for her to breathe. She was also

needlessly banished to eat outdoors, irrespective of the weather. Moreover, United forced her to

live under the daily threat of termination if she did not return her respirator to her face between

bites of food and sips of water. Additionally, Ms. Hamilton was ridiculed by her co-workers for

being unvaccinated.




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        132.   United’s initial rejection her request for a reasonable accommodation and the threat

of unpaid leave also caused Ms. Hamilton significant stress. That emotional toll was exacerbated

as the mandate and United’s actions limited the options her family was able to provide for her

husband’s cancer treatment.

        133.   Ms. Hamilton submitted a claim of discrimination to the EEOC, and she received a

right to sue letter on September 30, 2022.

        Debra Jonas

        134.   Plaintiff Jonas is a Customer Service Representative assigned to the United Club.

She has worked for United (or Continental Airlines, before United acquired Continental) since

1984.

        135.   As a United Club Representative, Ms. Jonas is responsible for working in the club

lounge, verifying credentials, selling memberships, discussing amenities with clients, and assisting

clients with flight issues and upgrades.

        136.   On August 29, 2021, Ms. Jonas requested a medical accommodation Help Hub.

        137.   In her request, Ms. Jonas explained that she was concerned with the safety of the

vaccine because of her severe allergy disability. She lives with the threat of severe reactions to

various allergens, taking allergy medications each day and constantly carrying a rescue inhaler and

epi-pen with her in case she comes into contact with an environmental trigger. Ms. Jonas cannot

take medicines such as penicillin and has severe reactions to foods such as eggs and materials such

as wool. United already provides Ms. Jonas with a special uniform because of her wool allergy.

She updated that request on September 14, 2021, with a form filled out by her doctor outlining her

allergy disability and recommending that she not take the vaccine.




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       138.    Ms. Jonas also wanted to submit a request for a religious accommodation but was

unable to do so because Help Hub permitted an employee to request only one type of

accommodation.

       139.    Ms. Jonas did not receive any contact from United to discuss the request or possible

accommodations.

       140.    On September 15, 2021, United informed Ms. Jonas that her medical

accommodation request was “approved,” but that she would be accommodated by being placed on

indefinite medical leave that would lead to the loss of both her pay and her regular benefits.

       141.    Yet, in August and October of 2021, Ms. Jonas contracted and recovered from

COVID-19, thereby providing her with significant antibody protection.

       142.    After this lawsuit was filed, Ms. Jonas was provided an accommodation to remain

at work under the same masking and testing protocols required of Mr. Castillo and Ms. Hamilton.

       143.    Because she was in a “customer-facing” role in the United Club, the company

relocated Ms. Jonas to a remote “agent on demand” position. This was so even though her job in

the United Club could be performed safely with mitigation measures (such as masking and testing)

and with little to no contact with customers. Moreover, United allowed outside vendors to work

in the United Club in close proximity with customers and employees while not requiring those

vendors to be vaccinated. In fact, United subsequently installed plastic shields in the United Club

between passengers and agents, which, along with mask wearing and periodic testing, would have

allowed Ms. Jonas to continue working in her position.

       144.    Ms. Jonas was also subject to harassment from other United employees and

supervisors. She felt ostracized in the role of agent on demand because her duty station was located

away from most other employees. United would not allow her to eat meals with other employees.




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Moreover, Ms. Jonas’ departmental relocation came without union protection or the ability to work

additional or overtime shifts, a benefit only afforded the vaccinated employees.

       145.    Further, United informed Ms. Jonas that once she was relocated, there was no

guarantee she would ever be able to return to her lucrative United Club position.

       146.    United’s response and threat of extended unpaid leave caused Ms. Jonas significant

stress. She was also forced out of her normal position and lost out on a significant amount of

bonus money that she could have earned if she had been allowed to continue working in the United

Club last Fall and Winter.

       147.    Ms. Jonas submitted a claim of discrimination to the EEOC, and she received a

right to sue letter on September 30, 2022.

       Genise Kincannon

       148.    Plaintiff Genise Kincannon is a Flight Attendant for United. Ms. Kincannon has

worked for United for 32 years.

       149.    As a Flight Attendant, Ms. Kincannon performs important safety responsibilities

during flights, including providing security support for pilots and maintaining control of the cabin.

Additionally, Ms. Kincannon’s responsibilities include helping customers find their seats and

ensuring a comfortable flight, while also performing other duties assigned by the captain.

       150.    On August 18, 2021, Ms. Kincannon submitted a religious accommodation request

through Help Hub.

       151.    In her accommodation request, Ms. Kincannon explained her understanding that

the COVID-19 vaccines were developed using fetal stem cell lines and that it is sinful to use

anything derived from abortion. Additionally, throughout her adult life, Ms. Kincannon has

elected not to receive vaccines due to her religious beliefs.




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       152.    Ms. Kincannon also previously contracted and recovered from COVID-19 and thus

likely possesses antibodies against COVID-19.

       153.    After she submitted her request, Ms. Kincannon did not receive any contact from

United to discuss the request or possible accommodations, other than boilerplate questions

challenging her religious beliefs and requesting a letter from someone else to verify those beliefs.

       154.    On September 9, 2021, United informed Ms. Kincannon that her religious

accommodation request was “granted,” but that she would be “accommodated” by being placed

on indefinite unpaid leave without her regular benefits.

       155.    After this lawsuit was filed, Ms. Kincannon was able to work until November 16,

2021. She was then placed on unpaid leave until United brought flight crews back to work at the

end of March 2022.

       156.    Being placed on unpaid leave impacted Ms. Kincannon in both tangible and

intangible ways. She was forced out of work over the Thanksgiving and Christmas holidays last

year, punished financially and professionally for choosing her faith over her employment. Not

only did Ms. Kincannon lose income, she lost training cycles, currency, skills, vacation and sick

leave accrual, use of accrued flight benefits, retirement contributions, and many other important

career and professional benefits.      United’s actions also caused significant stress in Ms.

Kincannon’s marriage.

       157.    Ms. Kincannon has also continued to be discriminated against since United returned

exempt flight attendants to work from their unpaid leave. Her schedule has remained restricted by

the company’s policies, where she has been prevented from flying to countries such as Japan for

work due to her lack of a COVID-19 vaccine—even though she could fly to those same

destinations on United Airlines as a passenger or non-revenue pass rider. Being prevented from




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flying those lucrative routes—unlike the accommodated flight attendants from other airlines—has

continued to contribute to her financial distress by costing her money each month she works.

       158.    Additionally, these arbitrary flight restrictions include the threat of discipline.

United uses a point system to determine the level of discipline for a violation of United policy.

Each month, when she submits bids for her schedule, Ms. Kincannon attempts to use her seniority

to ensure that she does not bid for any of the cities included on United’s arbitrary restricted-city

list. However, if she is nonetheless awarded a flight to one of these cities, despite not bidding for

it, United removes her from the trip and assigns her a “missed trip,” which causes her to receive

disciplinary points. These points carry various levels of punishment, including termination.

       159.    Ms. Kincannon submitted a claim of discrimination to the EEOC, and she received

a right to sue letter on September 30, 2022.

       Jarrad Rains

       160.    Plaintiff Jarrad Rains is a Flight Attendant for United.

       161.    On August 31, 2021, he submitted a medical accommodation request through Help

Hub. He has hereditary heart disease as well as heart stents and a repaired aorta from a rupture in

2019. In consultation with his doctor, it was determined that his heart disease prevented him from

receiving the vaccine.

       162.    Mr. Rains also likely contracted and recovered from COVID in Summer of 2021.

He was thus likely to possess the same antibodies that the vaccine was intended to create, and

which the CDC has acknowledged are superior to those from vaccination.




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       163.    Mr. Rains updated his accommodation request on September 8, 2021, with a form

completed by his doctor, noting a history of allergic reactions—including anaphylaxis—and

stating that he could not take the vaccine. 3

       164.    The following day, Mr. Rains was told that his medical request was “approved,”

but that he would be placed on indefinite medical leave. Although he could use his earned sick

pay until it ran out, United would not extend any pay or benefits beyond that point. He would then

be required to pay his medical insurance premiums (both his portion and United’s potion).

       165.    Mr. Rains would have happily continued working for United with basic

accommodations like mask wearing and periodic testing. He also would have been willing to pay

for any testing and to work around difficulties in scheduling that could have resulted from his

vaccination status.

       166.    Separately, Mr. Rains would have been willing to provide United with proof of his

COVID antibodies, earned just a few months prior to the company putting him on involuntary

unpaid leave. Because that form of immunity is superior to vaccine-induced immunity, his

accommodation could have been simply to not take the vaccine.

       167.    Because of United’s refusal to provide any reasonable accommodation, Mr. Rains

suffered physically, emotionally, and economically from United’s actions. He was forced to

withdraw money from his 401k (with a penalty) to pay his bills when placed on unpaid leave. The

increased stress from dealing with the mandate and false accommodation also caused his blood

pressure to rise and took a toll on his mental health.




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  Mr. Rains additionally has sincerely held religious beliefs that prevented him from taking the
vaccine but was not allowed to submit a request with the company because of his medical
exemption request. He called Help Hub in an attempt to submit his religious accommodation
request but was informed that he could only have one type or the other.


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        168.    Ultimately, Mr. Rains was forced onto indefinite unpaid leave from November

2021 to March 2022.

        169.    Mr. Rains has also been subjected to continued discrimination since he was

permitted to return to work. His schedule has remained restricted by the company’s arbitrary route

restrictions due to his lack of a COVID-19 vaccine—even though he could fly to those same

destinations on United Airlines as a passenger or a non-revenue pass rider. Being prevented from

flying those lucrative routes—unlike the accommodated flight attendants from other airlines—has

continued to contribute to his financial distress by costing him money each month he works.

        170.    Like Ms. Kincannon, Mr. Rains is subject to the same point-based discipline risks

when he submits bids for flights.

        171.    Mr. Rains submitted a claim of discrimination to the EEOC, and he received a right

to sue letter on January 27, 2022.

        Alyse Medlin

        172.    Plaintiff Alyse Medlin was a Flight Attendant for United and was on maternity

leave when the Mandate was issued at the beginning of August 2021.

        173.    After hearing about the Mandate, she submitted a religious accommodation request

before the August 31, 2021 deadline, explaining that, as a devout Christian, she has a sincerely

held religious belief against taking the COVID-19 vaccines based on the vaccines’ links to aborted

fetal stem cells.

        174.    While on maternity leave, Ms. Medlin was not required to fill out forms or check

her United email. However, she wanted to get her accommodation request submitted so that it was

in place when she returned to work.




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       175.    Ms. Medlin regularly checked Help Hub for a week awaiting a response to her

accommodation request. As she received no response, she assumed the request was approved.

Several weeks later, Ms. Medlin checked Help Hub again and saw that United had requested a

third-party verification of her beliefs a week prior, to be submitted within three days. Because she

was on leave and had no access to her company internet device, Ms. Medlin did not receive any

notification of this United’s demand for a letter verifying her beliefs. Ms. Medlin immediately

tried to submit the requested letter. But the Help Hub portal was closed by that point, and she was

unable to do so.

       176.    Ms. Medlin’s request was subsequently denied for a lack of third-party verification,

despite no such letter being required by law. She assumed, though, that the issue could be resolved

after she returned from maternity leave.

       177.    United called Ms. Medlin at the beginning of March 2022 to begin the process of

coming back to work. She was told then that she needed to upload proof of vaccination to return,

but Ms. Medlin explained that she was exempt from the requirement due to her sincerely held

religious beliefs for which she had submitted an accommodation request prior to United’s arbitrary

August 31, 2021 deadline.

       178.    A supervisor then emailed Ms. Medlin to inform her that she would be subject to a

mandatory investigatory meeting via Microsoft Teams on March 9, 2022. Just minutes before that

meeting, the supervisor sent Ms. Medlin the paperwork indicating that the meeting was called to

investigate her vaccination status. It was too late at that point, though, for Ms. Medlin to seek any

type of representation during the meeting.




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       179.    During the virtual meeting, Ms. Medlin was told that she would be terminated

immediately because she was not vaccinated, even though she had informed her employer of a

need for an accommodation that was within the employer’s ability to provide with no cost.

       180.    Despite being able to accommodate her sincerely held religious belief, United

terminated Ms. Medlin on March 9, 2022—the day before United announced that all unvaccinated

employees with an accommodation of unpaid leave would be returning to work. See Leslie

Josephs, United Airlines will let unvaccinated employees return to their jobs this month, CNBC

(Mar. 10, 2022), https://www.cnbc.com/2022/03/10/united-airlines-unvaccinated-workers-can-

return-to-their-jobs.html. This has caused Ms. Medlin serious financial, mental, and professional

hardship.

       181.    Ms. Medlin submitted a claim of discrimination to the EEOC, and she received a

right to sue letter on January 4, 2023.

       Charles Burk

       182.    Plaintiff Charles Burk is a First Officer with United. He requested a religious

accommodation from United’s vaccine mandate, to which United responded by offering only an

indefinite period of unpaid leave as a “reasonable accommodation.”

       183.    The filing of the present lawsuit temporarily stayed United from taking direct action

against pilots such as Mr. Burk. Nevertheless, United continued to apply pressure to its employees,

promising that unpaid leave would begin as soon as legally allowed.

       184.    United used additional coercive tactics on its unvaccinated employees, informing

them that vaccination was the right thing to do for the safety of everyone and that they would take

the vaccine if they really cared about their co-workers and passengers.




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       185.    In the meantime, Mr. Burk knew that the temporary restraining order would soon

be expiring and that he needed several weeks to complete the multiple shot regimen for COVID-

19. He could not afford to be out of a job for even a brief period due to personal difficulties

(including the impending death of his mother). This created an intense crisis of conscience for

Mr. Burk. He ultimately conceded his religious belief concerning the vaccine for his religious

belief to provide for his family and received the COVID-19 vaccine.

       186.    The coercion and stress inflicted by United’s unlawful actions caused Mr. Burk to

acquiesce and take the vaccine, violating his sincerely held religious beliefs—beliefs the company

had already recognized.

       187.    Mr. Burk submitted a claim of discrimination to the EEOC, and he received a right

to sue letter on November 17, 2022.

                                    CLASS ALLEGATIONS

       188.    Plaintiffs bring this class action under Federal Rules of Civil Procedure 23(a)

and (b).

       189.    Through this action, Plaintiffs seek to represent a class of all United employees who

have submitted claims of discrimination or retaliation to the EEOC and who requested or attempted

to request a medical or religious accommodation from United’s Mandate and, because of United’s

response, were put to the decision of either taking a vaccine to which they object, or suffering

termination, including the functional equivalent of termination: indefinite unpaid leave. Plaintiffs

may also request certification of separate subclasses for employees who were “customer facing,”

those who were “non-customer facing,” those who were terminated, or other potential subclasses

as deemed necessary through the class discovery process.




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       190.    By determining there would be no reasonable accommodations for any employee

requesting an exemption from the vaccine mandate, United effectively treated all accommodation

requesters the same, irrespective of the job-title, location, age, medical condition, or other

circumstances or characteristics.

       191.    United’s actions were thus generally applicable to the entire class of United

employees who sought reasonable accommodations from the Mandate. This is so despite United’s

determining after the initial filing of this lawsuit that it would be able to accommodate several

employee groups beyond unpaid leave.

       192.    Accordingly, the Court may grant relief to the entire affected class to remedy

United’s violation of federal civil rights laws.

       193.    Additionally, the class is so numerous that joinder of all members is impractical.

While the exact class size is unknown to Plaintiffs at this time, it is expected to approach 2,000

employees. The precise number and identification of the class members will be ascertainable from

United’s records during discovery.

       194.    There are questions of law and fact common to all members of the class. Those

common questions include, but are not limited to, the following:

               a.      Did United provide its employees with an adequate mechanism for

                       requesting an accommodation when it required requests to be submitted

                       only through Help Hub by an arbitrary date (August 31, 2021) and

                       prevented employees from requesting accommodations for both religious

                       and medical reasons?




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                 b.     Did United comply with its obligations under federal law to engage in the

                        interactive process when responding to each individual accommodation

                        request?

                 c.     Did United comply with its obligations under federal law to reasonably

                        accommodate employees with religious or medical objections to the vaccine

                        mandate when the only “accommodation” offered was indefinite unpaid

                        leave?

                 d.     Did United comply with federal law when it denied accommodation

                        requests?

                 e.     Did United retaliate against employees who engaged in protected activity

                        when it responded to each request by formally or effectively terminating

                        their employment or by engaging in coercive conduct to dissuade

                        employees from requesting (or continuing to seek) an accommodation?

         195.    Plaintiffs’ claims are typical of the claims of the class because they, like the class

members, requested accommodations from United’s vaccine mandate and United formally or

effectively denied those requests without engaging in the interactive process.

         196.    For the same reason, Plaintiffs will fairly and adequately protect the interests of the

class.

         197.    The questions of law or fact common to the members of the class predominate over

any questions affecting only individual members, and a class action is superior to other available

methods for fairly and efficiently adjudicating Plaintiffs’ claims. Joinder of all members is

impracticable.




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       198.    As explained above, United has taken at least one relevant act that affects all

members of the class as represented by the named Plaintiffs harmed in this District.

                                          COUNT I
                     Violation of Title VII, 42 U.S.C. § 2000e, et seq.
                    Religious discrimination—failure to accommodate
                On behalf of Plaintiffs Sambrano, Castillo, Hamilton, Jonas,
                           Kincannon, Rains, Medlin, and Burk,
                                and others similarly situated

       199.    Plaintiffs restate the foregoing paragraphs as if set forth fully herein.

       200.    Plaintiffs Sambrano, Castillo, Hamilton, Jonas, Kincannon, Rains, Medlin, and

Burk hold sincere religious beliefs that preclude them from receiving a COVID-19 vaccine.

       201.    Plaintiffs Sambrano, Castillo, Hamilton, Jonas, Kincannon, Medlin, and Burk

informed United of those beliefs and requested (or tried to request) religious accommodations from

the vaccine mandate.

       202.    United refused to engage in the interactive process with Plaintiffs regarding their

religious accommodation requests and instead only responded to Plaintiffs with invasive questions

or processes designed to deter Plaintiffs from exercising their religious beliefs. Indeed, United

never intended to provide a reasonable accommodation for any sincerely held religious beliefs.

Thus, whether the company “granted” the request for an accommodation or found a convenient

way to dismiss the request was ultimately irrelevant for United’s purposes—the company was

determined to coerce any unvaccinated employee no matter what their status was with the

company. This made the interactive process irrelevant as well.

       203.    Irrespective of the interactive process, United failed to provide Plaintiffs with

reasonable accommodations for their religious beliefs, as indefinite unpaid leave is not a

reasonable accommodation. Instead, indefinite unpaid leave is an adverse employment action.

Additionally, Plaintiff Medlin was terminated for her vaccination status even though she had made



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known to the company her sincerely held religious belief that prevented her from taking the

vaccine.

        204.    United thereby discriminated against Plaintiffs because of their religious beliefs.

        205.    United’s failure to provide religious accommodations has harmed and will continue

to harm Plaintiffs.

        206.    By failing to engage in the interactive process or offer any reasonable

accommodation, United’s discriminatory actions were intentional and/or reckless and in violation

of Title VII.

                                          COUNT II
                      Violation of Title VII, 42 U.S.C. § 2000e, et seq.
                            Religious discrimination—retaliation
                 On behalf of Plaintiffs Sambrano, Castillo, Hamilton, Jonas,
                            Kincannon, Rains, Medlin, and Burk,
                                 and others similarly situated

        207.    Plaintiffs restate the foregoing paragraphs as if set forth fully herein.

        208.    Plaintiffs Sambrano, Castillo, Hamilton, Jonas, Kincannon, Medlin, and Burk

engaged in protected activity when they requested (or tried to request) religious accommodations

from United’s vaccine mandate.

        209.    United responded almost immediately by announcing that it would formally or

effectively terminate their employment. This was so even though United has conceded that many

of the requests for religious accommodation are legitimate by “granting” those requests.

        210.    United’s response to Plaintiffs’ protected activity—a draconian threat of years of

unpaid leave—was an adverse employment action intended to force employees to forgo their

religious beliefs and receive the COVID-19 vaccine. When its improper questioning of the

employees’ religious beliefs failed, United chose to retaliate by giving the employees the false

choice between vaccination and effective termination.



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       211.    Plaintiffs’ religious beliefs and protected activity were the causes of United’s

adverse employment action. Indeed, United’s derisive view of employees with religious beliefs

has been documented. Moreover, United’s disparate treatment of religious accommodation

requests—arbitrarily cutting off the deadline for submitting religious accommodations, while

potentially still accepting requests for medical accommodation (even though the end result is

basically the same)—only confirms United’s hostility to requests for religious accommodation.

United did not bother engaging in an interactive process with accommodation seekers because it

never intended to provide them with a reasonable accommodation.

       212.    By retaliating against Plaintiffs for engaging in protected activity, United violated

Title VII. This violation has harmed and continues to harm Plaintiffs.

                                          COUNT III
                       Violation of the ADA, 42 U.S.C. § 12101, et seq.
                      Disability discrimination—failure to accommodate
                           On behalf of Plaintiffs Jonas and Rains,
                                  and others similarly situated

       213.    Plaintiffs restate the foregoing paragraphs as if set forth fully herein.

       214.    Plaintiffs Jonas and Rains informed United of their disabilities.

       215.    Plaintiffs Jonas and Rains requested reasonable medical accommodations from

United’s vaccine mandate for their disabilities.

       216.    United refused to engage in the interactive process with Plaintiffs regarding their

medical accommodation requests.

       217.    United violated the ADA when it denied or effectively denied Plaintiffs’

accommodation requests.

       218.    Where United offered indefinite unpaid leave as an accommodation, it failed to

provide a reasonable accommodation.




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        219.   United thereby discriminated against Plaintiffs because of their disabilities.

        220.   United’s failure to provide medical accommodations harmed and continues to harm

Plaintiffs.

        221.   By failing to engage in the interactive process or offer any reasonable

accommodation, United’s discriminatory actions were intentional and/or reckless, and in violation

of the ADA.

                                           COUNT IV
                        Violation of the ADA, 42 U.S.C. § 12101, et seq.
                             Disability discrimination—retaliation
                           On behalf of Plaintiffs Jonas and Rains,
                                 and others similarly situated

        222.   Plaintiffs restate the foregoing paragraphs as if set forth fully herein.

        223.   Plaintiffs Jonas and Rains engaged in protected activity when they requested

medical accommodations from United’s vaccine mandate.

        224.   United responded by taking an adverse employment action against each employee

when it announced that it would formally or effectively terminate their employment. This was so

even though United has conceded that many of the requests for medical accommodations are

legitimate by “granting” those requests.

        225.   United’s response to Plaintiffs’ protected activity with a draconian threat of years

of unpaid leave, and a threat of denied access to insurance or benefits, was an adverse employment

action intended to force employees to forgo their medical reasons for not receiving the COVID-19

vaccine.

        226.   Plaintiffs’ medical disability and protected activity were the causes of United’s

adverse employment action. As discussed above, United’s derisive view of employees with

disabilities has been documented.




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       227.    By retaliating against Plaintiffs for engaging in protected activity, United has

violated the ADA.

                                    PRAYER FOR RELIEF

       Plaintiffs request that the Court:

       a.      Certify this action as a class action under Federal Rules of Civil Procedure 23(a)

and (b).

       b.      Certify a class of all United employees who submitted EEOC claims of

discrimination or retaliation and who requested or attempted to request a medical or religious

accommodation from United’s Mandate and, because of United’s response, were put to the

decision of either taking a vaccine to which they object, or suffering termination, including the

functional equivalent of termination: indefinite unpaid leave.

       c.      Declare that United has violated Title VII and the ADA by failing to engage in the

interactive process and provide reasonable accommodations in response to requests for

accommodations to its COVID-19 vaccine mandate.

       d.      Declare that United has violated Title VII and the ADA by retaliating against

employees who engaged in protected activity.

       e.      Issue a permanent injunction, enjoining United from terminating, placing on unpaid

leave, or failing to promote/hire any employee who has a religious or medical basis for seeking an

accommodation from a COVID-19 vaccine mandate.

       f.      Award Plaintiffs, and those similarly situated, damages, including back pay,

reinstatement or front pay, lost seniority credit, accrued benefits, retirement contributions, pre-

judgment and post-judgment interest, punitive damages, and compensatory damages.

       g.      Award Plaintiffs reasonable attorneys’ fees and costs.




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        h.      Grant any other relief that the Court deems just, proper, and equitable.

        Pursuant to Federal Rule of Civil Procedure 38, Plaintiffs demand a jury trial on all issues

upon which there is a federal right to a jury trial.

February 9, 2023                                       Respectfully submitted,

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                                                       AND THE PROPOSED CLASS




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                                CERTIFICATE OF SERVICE

       On February 9, 2023, I filed the foregoing document with the clerk of court for the United

States District Court, Northern District of Texas. I hereby certify that I have served the document

on all counsel and/or pro se parties of record by a manner authorized by Federal Rule of Civil

Procedure 5(b)(2) (ECF System).



                                                     /s/ Mark R. Paoletta
                                                     Mark R. Paoletta

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                                                     and the Proposed Class




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